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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


SARAH STEBBEDS,

                             Plaintiff,

              v.                                       Case No.: 3:23-cv-468-jdp

MICHELLE A. KING,
Acting Commissioner of Social Security,

                             Defendant.


        ORDER ON FEES UNDER THE EQUAL ACCESS TO JUSTICE ACT


       This matter coming before the court on the motion of the plaintiff parties'

stipulation to award fees under the Equal Access to Justice Act, 28 U.S.C. § 2412, and the

court being fully advised:

           Plaintiff is awarded $10,000 for attorney fees and expenses in full
           satisfaction of any and all claims that may be payable to plaintiff
           in this matter under the Equal Access to Justice Act (EAJA), 28
           u.s.c. § 2412.
           Any fees paid belong to plaintiff and not plaintiff's attorney and
           can be offset to satisfy any pre-existing debt that the litigant owes
           the United States. Astrue v. Ratliff, 560 U.S. 586 (2010). If
           defendant can verify that plaintiff does not owe a pre-existing
           debt to the government subject to the offset, defendant will direct
           that the award be made payable to Konoski & Partners, P.C.
           pursuant to the EAJA assignment duly signed by plaintiff. If
           payment is mailed, as compared to electronically deposited, it
           shall be mailed to counsel's address of record:
Case: 3:23-cv-00468-jdp Document #: 21 Filed: 02/04/25 Page 2 of 2




    Konoski & Parh1ers, P.C.
    180 Tices Lane
    Suite 204, Bldg. A
    East Brunswick, NJ 08816




 SO ORDERED this    If TJ!day of February 2025.




 HonorleJames D. Peterson
 United States Dish'ict Judge
